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  Attorneys for Defendant Save On SP, LLC

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   JOHNSON & JOHNSON HEALTH CARE                        Civil Action No. 2:22-cv-02632-JMV-CLW
   SYSTEMS INC.,

                        Plaintiff,
                 v.                                       NOTICE OF MOTION TO PARTIALLY
                                                                 STAY DISCOVERY
   SAVE ON SP, LLC,
                                                                 Motion Date: October 3, 2022
                        Defendant.
                                                                Document Filed Electronically



  TO:    All Counsel of Record

         PLEASE TAKE NOTICE that at 10:00 AM on October 3, 2022, or as soon thereafter as

  counsel may be heard, defendant Save On SP, LLC (“SaveOnSP”) shall move this Court for an

  Order partially staying discovery in this action, in accordance with the Stipulation and Order

  Regarding Briefing Schedule so-ordered by the Court on August 22, 2022 (ECF No. 40).
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         PLEASE TAKE FURTHER NOTICE that in support of this Motion, SaveOnSP shall

  rely upon the accompanying memorandum of law, Declaration of E. Evans Wohlforth, Jr., and

  exhibits 1-6 attached thereto, and all other papers on file in this matter.

         PLEASE TAKE FURTHER NOTICE that oral argument is requested.

         PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

  herewith.

         PLEASE TAKE FURTHER NOTICE that a Certification attesting to the date and

  manner of service is also submitted herewith.



  Dated: Newark, New Jersey                  By: s/ E. Evans Wohlforth, Jr.
         September 2, 2022                       E. Evans Wohlforth, Jr.
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